      Case 3:19-cv-04936-LC-HTC Document 30 Filed 06/24/22 Page 1 of 2


                                                                        Page 1 of 2

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION



ROBERT SELLERS,
      Petitioner,

v.                                                 Case No. 3:19cv4936-LC-HTC

SECRETARY OF THE FLORIDA
DEPARTMENT OF CORRECTIONS
RICKY DIXON,
     Respondent.
________________________________/

                                     ORDER

      The magistrate judge issued a Report and Recommendation on May 25, 2022

(ECF No. 29).       The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined the

Report and Recommendation should be adopted.




Case No. 3:19cv4936-LC-HTC
      Case 3:19-cv-04936-LC-HTC Document 30 Filed 06/24/22 Page 2 of 2


                                                                      Page 2 of 2

      Accordingly, it is ORDERED:

      1.    The amended petition under 28 U.S.C. § 2254, challenging the

conviction in State v. Sellers, 2003-CF-24 (Santa Rosa County Cir. Ct.), ECF Doc.

7, is DENIED without an evidentiary hearing.

      2.    A certificate of appealability is DENIED.

      3.    The clerk is directed to close the file.

      DONE AND ORDERED this 24th day of June 2022.



                                s/L.A. Collier
                                LACEY A. COLLIER
                                SENIOR UNITED STATES DISTRICT JUDGE




Case No. 3:19cv4936-LC-HTC
